
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Appellant on the 21st day of March 2006 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 29th day of June 2006."
Upon consideration of the petition filed on the 21st day of March 2006 by Appellant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
*893"Denied by order of the Court in conference, this the 29th day of June 2006."
